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1N THE UNITED STATES DISTRICT coURT
FOR THE WESTERN DISTRICT 0F TENNESSEE 95 JUL »-7 FH 3= 119

WESTERN DIVISION
U,S, , lt MT
§ 11{`\`_. U&»M

 

U'NITED S‘I'ATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20163-Ml

VIRGIL TAB, JR.

Defendant(s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for trial on Tuesday, July 5, 2005 at 9:30 A.M.
Counsel for the government requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for trial to
Monday, August l, 2005 at 9:30 A.M. This trial date is a firm date and
will not be changed even if the material witness currently being sought
is not found.

The period from July 15, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § BlGl(h)(S)(B)(iv) to allow government counsel
additional time to prepare.

IT IS SO ORDERED this the 7 day Of July, 2005.

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ON P IPPS MCCALLA
UNI D STATES DIS'I‘RICT JUDGE

Thls document entered on the docket sheet tn compliance Q/
with sure 55 and/or 32(b) mch on 7 '

 

   

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This notice confirms a copy of the document docketed as number 91 in
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Honorable J on McCalla
US DISTRICT COURT

